UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA, by CIVIL ACTION
Attorney General KATHLEEN G. KANE, N(),

Plaintiff,
v.

THINK FINANCE, INC., TC LOAN SERVICE,
LLC, ELEVATE CREDIT, INC., FINANCIAL
U, LLC, KENNETH E. REES, WILLIAM
WEINSTEIN, WEINSTEIN, PINSON AND
RILEY, PS, CERASTES, LLC, NATIONAL
CREDIT ADJUSTERS, LLC, SELLING
SOURCE, LLC and PARTNERWEEKLY, LLC,
d/b/a MONEYMUTUAL.COM , and other JOHN
DOE persons or entities,

Defendants.

 

 

NOTICE OF REMOVAL
Defendants Think Finance, lnc., TC Loan Service, LLC, and Financial U, LLC, hereby

remove this civil action from the Court of Comrnon Pleas of Philadelphia County, First Judicial
District of Pennsylvania, to the United States District Court for the Eastern District of
Pennsylvania. This Court has jurisdiction under 28 U.S.C. §§ 1331 and l44l.

In further support of this Notice of Rernoval, Defendants state as follows:

PROCEDURAL HISTORY y

l. On Novernber 13, 2014, the Cornrnonwealth of Pennsylvania, acting through its
Attorney General, the Honorable Kathleen G. Kane, filed this action in the Court of Cornmon
Pleas of Philadelphia County, First Judicial District of Pennsylvania, Case No. 141101359.

2. On November 20, 2014, the Attorney General served the Complaint and
Summons on Defendants Think Finance, lnc., and TC Loan Service, LLC. True and correct
copies of the Complaint, With eXhibits, and Summons are attached hereto as EXhibit A. On

Decernber 15, 2014, counsel for Financial U, LLC, accepted service on its behalf. A true and

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correct copy of the signed Acceptance of Service is attached hereto as Exhibit B.

3. EXhibits A-B constitute all of the process, pleadings, and orders served on Think
Finance, Inc., TC Loan Service, LLC, and Financial U, LLC, in this case, and are attached hereto
pursuant to 28 U.S.C. § 1446(21).

TIMELINESS OF REMOVAL

4. Defendants’ removal notice is timely under 28 U.S.C. § l446(b) because it is filed
Within thirty (3 0) days after service of the Summons and Complaint upon Defendants Think
Finance, Inc., and TC Loan Service, LLC, on November 20, 2014.

VENUE

5. The Court of Common Pleas of Philadelphia County, First Judicial District of
Pennsylvania, is located Within the Eastern District of Pennsylvania. 28 U.S.C. § 118(a). This
Notice of Removal is therefore properly filed in this Court pursuant to 28 U.S.C. § 144l(a).

BASIS FOR REMOVAL JURISDICTION
I. T he Allegations.

6. The Cornplaint challenges Defendants Think Finance, Inc. (“Think Finance”), TC
Loan Service, LLC (“TC Loan Service”), Elevate Credit, Inc., Financial U, LLC, and Kenneth
Rees’ (collectively, the “Think Finance Defendants”) provision of services to a bank and three
Native American tribes Who offered loans and cash advances over the internet. According to the
Complaint, the bank and the tribes Were only “nominal” lenders, (Compl. 1111 32, 45), and the
Think Defendants associated With them in order “[t]o evade licensure, usury and consumer
protection laws” regulating payday loans offered to Pennsylvania consumers, (ia’. 1[ 2 (emphasis
added)).

7. The Cornplaint alleges a two-part “scheme.” Under the “first phase,” Defendants
Think Finance,l TC Loan Service, and Rees allegedly utilized a so-called “rent-a-ba ” model,

in Which they partnered With First Bank of DelaWare (“FBD”), a bank insulated from state

 

1 Prior to 201(), Think Finance Was known as ThinkCash, Inc. (Compl. 11 30.)

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regulation, to serve as “nominal lender,” while they served as “the de facto, non-bank lender”
that in actuality “marketed, funded and collected the loan and performed other lender functions.”
(Id. 11 32.) This partnership allowed Think Finance “to offer high-rate ‘installment loans’ as the
supposed servicing agent of the bank.” (Id. 11 36.) According to the Complaint, the “rent-a-bank
scheme” continued in spite of a Federal Deposit Insurance Corporation (“FDIC”) cease and
desist order until 2011. (Ia’. 1111 37-40.)

8. Plaintiff alleges that under the “second phase” of the “scheme,” the Think Finance
Defendants adopted a so-called “rent-a-tribe” model, in which they relied on three Native
American tribes to perform the role of “nominal lender” originally held by FBD. (Id. 11 45.) The
loan agreements used by two of the tribes contained a provision stating that the borrower
“consent[ed] to the sole subject matter and personal jurisdiction” of the lending tribe and “further
agree[d] that no other state or federal law or regulation” applies to the loan agreement, its
enforcement, or interpretation (See ia'. 1111 57, 59; id. Ex. D (Plain Green Loan Agreement), EX.
E (Great Plains Lending Agreement).) The third tribe’s agreement contained similar provisions.
(See id. 11 67; id. EX. F at XVI. Transfer of Rights; Maintenance of Register (“[T]his agreement
shall remain exclusively subject to the laws and courts of the Tribe. As an integral component of
accepting this Agreement, you irrevocably consent to the jurisdiction of the Tribal courts for the
purposes of this Agreement.”), XVIII. Governing Law (stating that the agreement is governed by
tribal law, the Indian Commerce Clause, and other applicable federal law).

9. Whether through the alleged rent-a-bank or rent-a-tribe model, the core of
Plaintiff s allegations are that the interest charged on the loans made to Pennsylvania consumers
under the Think Finance Defendants’ scheme was usurious and in violation of section 201 of
Pennsylvania’s Loan Interest and Protection Law, 41 P.S. § 201. (See, e. g., Compl. 1111 l, 31-32,
44, 48.) Indeed, Plaintiff variously describes the loans as “illegal” and “usurious.” (See id. 11 2
(alleging that the loans at issue are “illegal loans that flout Pennsylvania law”), 11 3 (“illegal loans
made through this scheme to Pennsylvania residents”), 11 18 (“illegal usurious loans”), 11 19

(same), 11 39 (“illegal loans”), 11 42 (“illegal, usurious loans”), 11 44 (describing Tribal loans as

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“usurious loan products”).) Each of Plaintiff s five claims turn, at least in part, on this alleged
charging of illegal interest. Plaintiff s first three claims for violations of Pennsylvania’s Corrupt
Organizations Act, 18 Pa. C.S.A. § 911, are premised on the underlying “racketeering activity”
of collecting interest at a rate that exceeds 25% per year. (Compl. 1111 93, 97, 106, 113.)
Plaintiff s fourth claim, for violation of the Fair Credit Extension Uniformity Act, 73 P.S.

§ 2270.1 et seq. , is predicated upon Defendants’ collection of interest in excess of the limits
created by Pennsylvania’s usury law, whether as debt collectors or creditors. (Compl. 1111 122-
24.) Finally, under Plaintiffs fifth claim, Defendants are alleged to have violated the Consumer
Protection Law, 73 P.S. § 201-l et seq. , “because the credit offered is unlawful in Pennsylvania.”
(Compl. 11 132.)

II. Federal Question Jurisdiction

10. This is a civil action over which this Court has original jurisdiction pursuant to 28
U.S.C. § 1331 (federal question), and is one that may be removed to this Court pursuant to the
provisions of 28 U.S.C. § 1446.

11. Federal question jurisdiction exists when an action presents a claim “arising under
the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. Under the well-
pleaded complaint rule, a claim ordinarily arises under federal law only when a federal question
is presented on the face of the complaint. See Caterpz`llar Inc. v. Williams, 482 U.S. 386, 392
(1987). There are, however, at least two exceptions to the well-pleaded complaint rule: the
complete preemption doctrine and the substantial federal question doctrine. Both of those
exceptions apply in this case.

A. Complete Preemption

12. The Cornplaint can be removed because it falls under the “complete preemption”
exception to the well-pleaded complaint rule. The complete preemption doctrine allows for the
removal of cases in which the “pre-emptive force of [federal law] is so ‘extraordinary’ that it
‘converts an ordinary state common-law complaint into one stating a federal claim for purposes

of the well-pleaded complaint rule.”’ Caterpillar, 482 U.S. at 393 (citation omitted).

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13. The Complaint includes claims that are subject to federal question jurisdiction
because the Complaint challenges the amount of interest that FBD charged for loans, and state-
law challenges to the amount of interest charged by a state-chartered, federally insured bank are
completely preempted and arise under federal law.

14. FBD was a federally insured, state-chartered bank existing under the laws of
Delaware. (See Compl. 11 35; ia’. Ex. A at p. 1, p. 2 11 4; Declaration of Ira N. Richards
(“Richards Decl.”) Ex. A (FDIC, Demographic lnformation, First Bank of Delaware).)2 As such,
it was subject to the provisions of § 521 of the Depository Institution Deregulation and Monetary
Control Act (“DIDA”), 12 U.S.C. § 183 ld. “DIDA creates a federal remedy in favor of
borrowers who are charged rates in excess of the limit established in § 521(a).” Hill v. Chem.
Bank, 799 F. Supp. 948, 951 (D. Minn. 1992).

15. In Benefz`cz'al National Bank v. Anderson, 539 U.S. 1 (2003), the Supreme Court
held that §§ 85 and 86 of the National Bank Act (“NBA”) completely preempt state law usury
claims against national banks. 539 U.S. at 11 (“Because §§ 85 and 86 provide the exclusive
cause of action for 1usury] . . . claims, there is, in short, no such thing as a state-law claim of
usury against a national bank. . . . This cause of action against national banks only arises under
federal law and could, therefore, be removed under § 1441 .”). Explaining that § 521 contains an
express preemption clause and “incorporates verbatim the language of § 85 of the NBA,” the
Third Circuit followed Benejicz'al Natz`onal Bank in holding that § 521 of DIDA “completely
preempts any state law attempting to limit the amount of interest and fees a federally insured-

state chartered bank can charge.” In re ley. Bank of N. Va. , 418 F.3d 277, 295 (3d Cir. 2005)

 

2 In determining whether a complaint includes any claims that are completely preempted, a
“court may ‘look beyond the face of the complaint to determine whether a plaintiff has artfully
pleaded his suit so as to couch a federal claim in terms of state law.”’ Pryzbowski v. U.S.
Healz‘hcare, Inc., 245 F.3d 266, 274 (3d Cir. 2001) (quoting Jass v. Prudential Health Care Plan,
Inc., 88 F.3d 1482, 1488 (7th Cir. 1996)); see Pascack Valley Hosp., Inc. v. Local 464A UFCW
Welfare Reimbursement Plan, 388 F.3d 393, 399-402 (3d Cir. 2004) (considering evidence
extrinsic to the complaint to determine whether complete preemption applied and created federal
jurisdiction); Palmer v. Kraft Foods Global, Inc., No. 13-6260, 2014 U.S. Dist. LEXIS 10700, at
*9-15 (E.D. Pa. Jan. 29, 2014) (same).

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(“In re Communily Bank”); cf Greenwood Trust C0. v. Massachusetts, 971 F.2d 818, 824, 827
(lst Cir. 1992) (noting that parallel provisions of DIDA and the NBA should be read in pari
materia and holding that § 521 expressly preempts state laws regulating interest).

16. To analyze whether complete preemption arose from the allegations before it, the
Court of Appeals focused on whether the complaint “alleged state law claims of unlawful interest
by a nationally or state chartered bank.” In re Cmty. Bank, 418 F.3d at 296. lt declined to find
such claims in the complaint before it because (1) the complaint did not assert any claims against
a national or state-chartered federally insured bank, and (2) the complaint did not assert any
usury claims against any party under state law. ld. Here, neither of these reasons applies to bar
the conclusion that complete preemption arises.

17. As in In re Communily Bank, the Complaint does not directly assert claims
against a bank, but it nonetheless alleges state law claims of unlawful interest by FBD. See id.
The Third Circuit explained that the complaint before it asserted no claims that challenged a
bank’s interest rate because the loans at issue were made by a non-depository institution, and
then bought by another non-bank in the secondary market. ld. at 296-97. In contrast, the
Cornplaint attacks the interest rate charged on loans made by FBD.

18. The Complaint concedes that under the first phase of the Think Finance
Defendants’ alleged “scheme,” FBD made the loans issued to Pennsylvania consumers (See
Compl. 11 36.) Plaintiff also makes the vague and conclusory allegation that FBD was used by
the Think Finance Defendants as a “nominal” lender to evade state usury laws, without
explaining what that means or offering any factual support. (Id. 11 32.) Plaintiff alleges that in
2008, the FDIC ordered FBD to cease its “‘lending programs offered, marketed, administered,
processed and/or serviced by third-parties,’ specifically the bank’s agreement with ‘TC Loan
Service, LLC d/b/a ThinkCash.”’ (Id. 11 37 (internal citation omitted).)

19. However, the documents attached to the Complaint and referenced within it
demonstrate that this allegation is simply wrong. The documents show that the FDIC ordered

FBD to terminate only “cerl‘ain third-party lending programs and third-party providers that

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exhibit the characteristics of a ‘Rent-a-BIN’ or ‘Rent-a-ICA’ arrangement,” and specifically
permitted FBD to continue doing business with other entities, including those at issue here. (See
id. Ex. A. at p. 4 11 9 (emphasis added), id. at Ex. C to Ex. A 1111 16, 18.) The Cornplaint
references the FDIC’s cease and desist order, (Compl. 11 37), but does not attach it, (see Richards
Decl. Ex. B). That order explains that the “Rent-a-BIN” or “Rent-a-ICA” arrangements it
prohibits are those detailed in the FDIC’s Credit Cara1 Activz'tz`es Marzual, (ia’. at 4), which
explains that a “Rent-a-BIN” or “Rent-a-ICA” arrangement is one in which a bank allows a third
party to conduct credit card activities with or through one of the bank’s BINs or ICAs, which are
numbers issued by a card association, such as Visa or MasterCard, to identify the bank for
various processes, (Richards Decl. Ex. C at 120 & n.8). The bank receives a “rental” fee in
exchange for allowing the entity to use its BIN or ICA. (Ia’. at 120.) Essentially, the bank is
either renting its right to offer credit cards that have the applicable card association’s label logo
or allowing the third party to use its BIN or ICA to acquire merchants and settle their credit card
transactions (Ia’.; ia'. Ex. D at 180.)

20. By the FDIC’s own view, the arrangement between FBD and the Think Finance
Defendants did not have “Rent-a-BIN” or “Rent-a-ICA” characteristics According to the
allegations in the Complaint, FBD offered online loans and cash advances. (Compl. 1111 1, 32,
36.) There are no allegations of any activities related to credit cards, much less that FBD
received fees from the Think Finance Defendants for use of one of FBD’s Ble or ICAs. More
fundamentally, the FDIC order expressly authorized FBD to continue to do business with the
Think-related entities “Marketing provider Tailwind Marketing, LLC” and “Software provider
TC Decision Sciences, LLC.” (Ia’. at Ex. C to Ex. A 1111 16, 18.) Plaintiffs allegations that the
FDIC ordered FBD and the Think Finance Defendants to terminate their arrangement, and that
FBD and Think continued to operate illegally after 2008, is, therefore, flat wrong. Accordingly,
there are no viable allegations in the Complaint to even suggest that FBD served as anything
other than the lender in a legitimate lending program, for which the Think Finance Defendants

provided ancillary services. Thus, unlike in ]rz re Commurzily Bank, Plaintiff s claims directly

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challenge the interest rate of bank-made loans.

21. Plaintiff itself has also approved the very lending program it now attacks.
Plaintiff suggests that the program was not legitimate because the Think Finance Defendants
“marketed, funded, and collected the loan and performed other lender functions.” (Compl. 11 32.)
It also disputes the legitimacy of the Think Finance Defendants’ relationship with the tribes with
allegations that the Think Finance Defendants “provide the infrastructure to market, fund,
underwrite and collect the loans, providing some or all of the following: customer leads, a
technology platform, investors who fund the loans, and/or the payment-processing and collection
mechanisms . . . .” (Ia’. 1111 48; see also ia'. 11 106 (Think Finance Defendants engaging in
“racketeering activity” by “designing, providing and managing the web technology that powers”
the tribal lending programs; providing marketing assistance; arranging for provision of capital;
and arranging for sale of uncollected debt).) These alleged activities, however, were detailed to
the Commonwealth and sanctioned by it.

22. To bring its loan program with FBD to Pennsylvania, TC Loan Service (doing
business as ThinkCash) applied for a credit services loan broker license with the Pennsylvania
Department of Banking in 2007. (Declaration of Kristen M. Hensley (“Hensley Decl.”) Ex. A.)
As part of that application, TC Loan Service provided a fulsome description of its partnership
with FBD. lt stated that TC Loan Service would be the “marketer/Servicer” for the pro gram,
providing consumer marketing, application processing, ongoing customer support, and
collections services. (Ia’. at Attachment 2.) FBD would serve as lender and provide underwriting
criteria, rollbacks, funding, and payment processing (Ia’.) TC Loan Service specifically noted
that it had a marketing and servicing agreement with FBD and would receive a one-time fee for
each new loan made by a customer. (Ia'.) The Department of Banking approved TC Loan
Service’s application and issued it a license. (Ia’.) As Plaintiff had earlier approved of the Think
Finance Defendants’ role in the lending pro gram, its attempt to now cast that same role as
illegitimate or illegal fails. The lending program at issue in the Complaint was disclosed,

reviewed, and found by Plaintiff itself to be legitimate Plaintiff s allegations to the contrary are

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simply implausible

23. While the absence of a bank defendant in In re Community Bank signaled that the
plaintiff s claims were not directed at a bank’s exercise of its federally granted powers, such an
inference has no force in this case. First, FBD’s absence here does not diminish the fact that
Plaintiff s Complaint, unlike the complaint in In re Community Bank, challenges the interest
FBD charged on loans it originated (See Hensley Decl. Ex. A at Attachment 2 (“Although
ThinkCash is the marketer/servicer for the program, the bank is the lender.”) The Eight Circuit
has confirmed that where a complaint challenges a bank’s interest rate, complete preemption
may arise even though the bank itself is not a defendant See Krispin v. May Dep ’t Stores Co. ,
218 F.3d 919, 924 (8th Cir. 2000). ln Krispirz, holders of a department store’s credit card
brought a case alleging violation of Missouri’s usury laws. The court concluded that removal
based upon complete preemption under the NBA was proper because even though there were no
claims against a national or state-chartered bank, the loans were issued by a national bank. Ia’. lt
explained that even though the store purchased the bank’s receivables daily, it made “sense to
look to the originating entity (the bank), and not the ongoing assignee (the store), in determining
whether the NBA applies.” Ia'. Second, it is questionable whether FBD could be added as a
defendant_it “is no longer in business.” (Compl. 11 43.)

24. Courts have likewise held in the general preemption context that claims against
non-bank defendants may be preempted where they interfere with the exercise of a bank’s
authorized powers. As one court succinctly stated, “the question here is not whom the [state]
statute regulates, but rather, against what activity it regulates.” SPGGC, LLC v. Ayotte, 488 F.3d
525, 532 (1st Cir. 2007) (citing Watters v. Wachovia Bank, N.A., 550 U.S. 1, 127 S. Ct. 1559,
1570 (2007)) (holding that state law claims against mall defendant that acted as agent for
national bank’s gift card program were preempted by the NBA because the state law indirectly
prohibited the bank from exercising an allowed activity by prohibiting the mall from doing it);
see also State Farm Bank v. Reara’orz, 539 F.3d 336, 349 (6th Cir. 2008) (claims based on state

statute that regulated independent agents of bank against such agents were preempted under the

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Home Owners’ Loan Act because they had the effect of impinging on bank’s exercise of
federally granted powers); Sawyer v. Bill Me Later, Irzc., --- F. Supp. 2d ---, 2014 WL 2159044,
at *4, *8 (D. Utah May 23, 2014) (where bank originated loans, state usury claims against non-
bank service provider were preempted by DIDA even though plaintiff alleged that bank was not
the true lender and program was intentionally structured to evade certain state usury laws). Here,
the challenge to FBD’s banking power is direct, as Plaintiff predicates each of its claims on
violations of state laws that limit interest rates, in contradiction to FBD’s power to set interest
rates under federal law.

25. ln sum, under the analysis required by the Third Circuit, complete preemption
arises here because the Complaint “allege[s] state law claims of unlawful interest by a nationally
or state chartered bank.” In re Cmty. Bank, 418 F.3d at 296.

B. Substantial Question of Federal Law

26. A second exception to the well-pleaded complaint rule arises where a state-law
claim turns on a substantial, dispositive issue of federal law. Franchise Tax Bd. for State of Cal.
v. Corzstr. Laborers Vacatiort Trust of S. Cal., 463 U.S. 1, 9 (1983), superseded by statute on
other grounds, 28 U.S.C. § 1441(e); Smith v. Kansas City Title & Trust Co., 255 U.S. 180, 201-
02 (1921). A state-law claim gives rise to federal question jurisdiction if the claim “necessarily
raise[s] a stated federal issue, actually disputed and substantial, which a federal forum may
entertain without disturbing any congressionally approved balance of federal and state judicial
responsibilities.” Grable & Sorzs Metal Prods., Inc. v. Darue Erzg’g & Mfg. , 545 U.S. 308, 314
(2005).

27. This Court has federal question jurisdiction over Plaintiff s Cornplaint because it
necessarily raises and actually disputes at least two substantial federal issues. The alleged
misconduct underlying Plaintiff s claims is that the Think Finance Defendants made loans and
cash advances for which they charged interest in excess of the limits set by Pennsylvania usury
law. ln particular, Plaintiff alleges that under the “second phase” of the Think Finance

Defendant’s alleged “scheme,” it partnered with three Native American tribes to make those

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loans and cash advances. (Compl. 1111 45, 47-48.) As with FBD, Plaintiff concedes that the tribes
were the lenders in the lending program at issue. (Ia’. 11 48.) Plaintiff also alleges, and exhibits
attached to the Complaint show, that the tribes asserted that tribal law governs the loans. (Id.

1111 57, 59, 67; id. Exs. D, E, F.) To resolve Plaintiff’s claims, each of which is premised on a
violation of state law, the Court must decide first, whether state law governs the loans and
second, whether the tribes’ assertion of jurisdiction is valid.

28. Whether the loans originated by the tribes are subject to Pennsylvania law raises a
substantial and disputed federal issue. “Indian tribes are ‘domestic dependent nations’ that
exercise inherent sovereign authority over their members and territories. Okla. Tax Comm ’n v.
Citizerz Band Potawatomi Indian Tribe of Okla., 498 U.S. 505, 509 (1991) (citation omitted).
They retain the right to “make their own laws and be ruled by them.” Williams v. Lee, 358 U.S.
217, 220 (1959). Nonetheless, “Congress has broad power to regulate tribal affairs under the
Indian Commerce Clause, Art. 1, § 8, cl. 3.” White Mourttairz Apache Tribe v. Bracker, 448 U.S.
136, 142 (1980). ln light of these two principles, the Supreme Court has held that states may
regulate tribal activities, but only in a limited manner that considers the tribe’s right to self-
government and Congress’s power to manage tribal affairs. Id. at 142-43. Thus, even though
Plaintiff’s Cornplaint is premised on violations of Pennsylvania law, the Court must first resort to
this federal law to determine whether such laws have any force as to the loans made by the
tribes, or if they remain subject to tribal law alone.

29. Plaintiff S claims will remain unresolved, however, without the Court’s decision
on a second federal issue. As set forth above, the loan agreements entered into between the
tribes and borrowers contain choice-of-law and forum selection provisions that assume the
tribes’ legal authority over the borrowers. Before Plaintiff s claims may proceed-all of which,
again, assume that Pennsylvania law applies-the Court must also determine whether these
provisions are valid. lf they are, Plaintiff s claims fail because Pennsylvania law will be
inapplicable. Whether the provisions are valid requires determining whether the provisions

reflect a valid exercise of the tribes’ civil jurisdiction over nonmembers, a matter of federal law.

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See U.S. ex rel. Mororzgo Band of Missiort Indiarts v. Rose, 34 F.3d 901, 905 (9th Cir. 1994)
(“'l`ribal jurisdiction over non-lndians is a question of federal law . . . .”).

30. As the Supreme Court has explained, although Indian tribes generally lack legal
authority over persons who are not tribal members there are two exceptions to that general rule.
Montana v. United States, 450 U.S. 544, 565 (1981). The first exception is relevant here: “A
tribe may regulate, through taxation, licensing, or other means, the activities of nonmembers who
enter consensual relationships with the tribe or its members, through commercial dealing,
contracts, leases, or other arrangements.” ld. In this case, the Court must evaluate whether this
exception applies and allows the tribes to exercise the regulatory and judicial authority asserted
by the loan contract provisions Plaintiff s Cornplaint thus also depends on this second disputed
and substantial issue of federal law.

31. This Court may entertain the claims asserted in the Cornplaint without disturbing
any congressionally approved balance of federal and state judicial responsibilities That balance
“as to Indian tribes is heavily weighted on the federal side,” Massachusetts v. Wamparzoag Tribe
ofGay Head, No. 13-13286-FDS, 2014 WL 2998989, at *4 (D. Mass. July 1, 2014), as it has
been recognized that “Indian sovereignty and the congressional goal of lndian self-government”
are “important federal interests,” Califorrzia v. Cabazoh Band of Missiort Indiarts, 480 U.S. 202,
216-17 (1987) (so stating in the related context of tribal gaming), superseded by statute ort other
grounds as stated in Michigart v. Bay Mills Indian Cmty., 134 S. Ct. 2024, 2034 (2014).

32. Removal based on the existence of a substantial federal question is therefore
warranted See Grable & Sorzs Metal Prods., 545 U.S. at 313-14.

SUPPLEMENTAL JURISDICTION UNDER 28 U.S.C. § 1367

33. This Court should exercise supplemental jurisdiction under 28 U.S.C. § 1367 over

any claims that are not independently removable. See 28 U.S.C. § 1367(a).
CONSENT AND JOINDER
34. Defendants Elevate Credit, lnc.', Kenneth E. Rees, William Weinstein, Weinstein,

Pinson and Riley PS, Cerastes, LLC, National Credit Adjusters, LLC, Selling Source LLC; and

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PartnerWeekly, LLC d/b/a Moneymutual.com have consented to and/or joined in this notice of
removal as shown by the forms that as are attached hereto as Exhibit C. No consent is necessary
as to the remaining defendants “John Does,” who are not named in the complaint and have not
been served. Green v. Am. Ortlirte (AOL), 318 F.3d 465, 470 (3d Cir. 2003) (“However, the
general rule that all defendants must join in a notice of removal may be disregarded where, as
here, the non-joining defendants are unknown.”).
NOTICE TO STATE COURT AND PLAINTIFF

35. Counsel for Defendant certifies that pursuant to 28 U.S.C. § 1446(d), copies of

this Notice of Removal will be filed with the Clerk of the Court of Common Pleas of

Philadelphia County, First Judicial District of Pennsylvania, and served on Plaintiff promptly.

Dated: December E, 2014 Respectfully submitted,

utull@a>

 

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